                  ~                        Case 01-01139-AMC  Doc 22766-38
                                                          DECEASED         Filed
                                                                   CLiENJeath    08/13/09
                                                                              Date Order)                                 Page 1 of 5
LastName   FirstName Exp Cat        Libby          Date of
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                                                              Cause per DC
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                                    Residence      Death                                                                                                            Grace End Residence
                                                                                                                    by Dr:          ~.
                                                                                                                                                  m. .§!!!1                   at Death
                                                                                                                                              factor?
Albert     Thomas     Worker       36-65          7/28/1997 Lung cancer - non small cell - right
                                                                                                                  William     Exh 225        Yes        5/4/1960    5/4/1962        Kalispell, MT
Graham     Robert     Worker                                                                                      Boehme
                                   62-98           1/9/1998 ml'lsc;>thelioma malignant (1 year)
                                                                                                                  Jon Johnson Exh 225        Yes        8/2211962   2116/1990 .
                                                             asbestosis                                                                                                             Libby, MT
Katarzy    Walter     Worker       25-40,45-       2/11/1998 cOngestive heart failure (1 month)
                                                                                                                  Uwe                        No         12118/1946 3/31/1947
                                   54,83-98                  coronary artery disease (12 years)                                                                                     Prescott
Roberts    James      Community    31-98                                                                          Fohlmeister
                                                  .5/13/1998 Cancer of soft palate                                                                                                  Valley, AZ
                                                                                                                  Clyde Knecht 2113/01       Yes                                    Libby, MT
Wilkes     Lawrence   Worker       44-50,53-98     6/211998                                                                    (Hammar)
                                                            Rupture.d abdominal aortic aneurysm (>6 hours)        MichaelA.                  No         1011211953 12124/1953       Libby, MT
                                                            Myocardial infarction w/ cardiac arrest (30 min)      Judd·
Bundrock   Arthur     Worker       57-98          7/14/1998 Disrythmia
                                                                                                                  nene         Exh225        Yes        7/26/1957
                                                            Atherosclerotic Cardiovascular Disease                                                                  10/16/1978      Libby, MT
Johnson    Donald     Worker                                                                                      (coroner)
                                   50-98          7/30/1998 Respiratory failure (weeks)
                                                                                                                  Alan         Exh 225       Yes        10/5/1950
                                                            asbestosis (years)                                                                                      11/6/1981       Libby, MT
Riley      Darlene    Community                                                                                   Whitehouse
                                   44-51,         1214/1998 Malignant Mesothelioma (2· years)
           "Toni"                                                                                                 Jon Johnson                Yes
                                   summers 51                                                                                                                                       Libby, MT .
                                   54,56-98

Post       Maurice    Worker       44-99           5/6/1999   adenocarcinoma - non ??                             Clyde Knecht 8/9/04        Yes        8/25/1948   9/30/1948       Libby, MT
                                                                                                                               (Whitehouse),
Larson     Carl       Community                                                                                                Exh 225
                                   36-54, 58-99 7/9/1999 Aspiration pneumonitis (16 days)
                                                                                                                  Legrande                   No
                                                           Scleredema Progressive (10+ years)                                                                                       Libby, MT
                                                                                                                  Phelps
                                                           Other significant conditions; obstructive airways
                                                           disease, severe
Baenen     Louis      Worker       39-44,46-99 9/27i1999 Renal Failure
                                                                                                                  William                    Yes        8/25/1948   9/30/1948
                                                           Diabetes                                                                                                                 Libby, MT
Hendrickson Edmond                                                                                                Cuskelly
                      Worker       59-99       11/2211999 Pneumonia (4 days)                                      Glenne         1/17/01      Yes       3/25/1960   1/1/1987        Libby, MT
                                                          ,Severe Rheumatoid arthritis (25 Years)                 Gunther        (Whitehouse)
Carolan    Alice      Family Member 44-57,73-00    4/8/2000   ,Restrictive/Obstructive Airways Disease (18+ mos.) Legrande                   Yes
                                                              Pulmonary Fibrosis (3-4 mos.)                                                                                         Libby, MT
                                                                                                                  Phelps
                                                              Asbestos Exposure (5+ years)

Warren     Michael    Worker       64-70,80-87 5/23/2000 'sudden death                                            Stan Wilson                No         10/17/1964 12/21/1966       Mi~oula,
                                                          presumed vent. arrhYthmia
                                                                                                                                                                                    MT
                                                          CAD
Kelley     Merton     Worker       59-61,65-75 5/31/2000 Cardiorespiratory arrest (minutes)                       Stephen        4/4/01       No        3/14/1966   1/1/1971        Hemet, CA
                                                          Chronic obstructive pulmonary disease (years)           McKenzie       (Whitehouse)
Murray     Thomas     Worker       summers 48      6/8/2000   diverticulitis? (hours)                                William     Exh225      Yes·       6/14/1948   9/15/1949       Missoula,
                                    &49                       other significant conditions: asbestoslslpulm. fibrosI Bekemeyer                                                      MT




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                                                  Case 01-01139-AMC             Doc 22766-38            Filed 08/13/09      Page 2 of 5

LastName
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            FirstName Exp Cat          Libby
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                                                                                                                                              factor?

Hugill      Glenn       Subcontractor 25-00            7/18/2000 Ischemic cardiomyopathy                            John           3/11102         Yes                               Libby, MT
                                                                 Coronary artery disease                            Peterson       (Hammar)
Kenworthy   Jack        Worker         60-61,64-       8/18/2000 Metastatic non-small cell lung cancer (9 months)   Thomas C.      4/28/00 '       Yes     4/10/1968    4/211984     Helena, MT
                                       66,68-84                     ;                                               Weiner         (Whitehouse),
                                                                                                                                   Exh 225
Rightmire   Miles       Worker         59-6,6          9/212000   Metastatic carcinoma                            Mary Ann,        10/10/00        Yes     5/11/1959    5/3111966    Columbia
            "Rusty"                                               Cancer of the pancreas                        ' Carlson          (Whitehouse)                                      Falls,MT
                                                                  Other significant conditions: COPD
Reynolds    Wesley      Community      55,61-00        11113/2000 Abdominal sarcoma primary site unknown (2 mas) Alan              215108            No                              Spokane,
            "James"                                               Other significant conditions: Asbestosis        Whitehouse       (Whitehouse)                                      WA

Davidson    Richard     Worker          38~52, 56-87   12121/2000 Astrocytoma of cervical spinal cord (10/00)       Todd Garman 4/16/01      Yes           4/16/1957    5/16/1959    Libby, MT
                                                                                                                                (Whitehouse)

Stephens    Lyle        Worker          58-98           1/4/2001
                                                               Respiratory arrest (none)                           Robert                            Yes   10129/1959 7/29/1964      Colorado
                                                               pulmonary asbestosis (years)                        Winans                                                            Springs, CO
Lyle        John        ' Worker       44-56,60-    1/16/2001 Mesothelioma                                          none                             Yes   1/19/1967    101711993    Troy, MT
                                       62,65-01                Atherosclurotic Cardiovascular Disease               (coroner)
Welch       Nevin         Community    26-01        1/24/2001 Pulmonary embolus (hours)                             Jason                            Yes                             Troy, MT
                                                               Bladder Tumor (months)                               Bechard
 Wright      Andrew       Worker       56-62,68-    5/13/2001 hypoxemia (3 months +)                              , Legrande                         Yes   512711957 ' 1/18/1963     Libby, MT
                                       73,75-01                restrictiveairiNays disease (4+ years)               Phelps
                                                               asbestosis (4+ years)
 Haack       'Clarice     Family Membe 34-44, 49-63 6/?6/2001 car pulmonale (1 year)                                Alan,                            Yes                          Spokane,
                                                               a~bestosis (years)                                   Whitehouse :                                                  WA
 Badgley     William      Worker       49-52        9/25/2001 Cardiac arrest                                        James N.        10/14105         Yes   9119/1949 ' 11/2211952 Havre, MT
                                                               e~d stage coronary artery disease & ? heart diseaSE Kelley           (Whitehouse)
                                                                end stage asbestosis? & restrictive lung disease
                                                                pneumonia
                                                                  ,
 DeShazer    Donald       Worker        50-51,58-    10/3/2001 ,Chronic renal failure (years)                        David K          7/29/02        Yes    6/17/1958    5/31/1959    Kalama, WA
                                        60,63-77                :other significant conditions: COPD                  Moon             (Whitehouse)

                         Subcontractor 32-55, 56-67 10/10/2001 :Chronic lymphocytic leukemia (7 years)               Robert H.        11/20/01       Yes                              Spokane,
 Carr        William
                                                                                                                     Laugen           (Whitehouse)                                    WA


                                                        10/13/2001 'dysphagia                                        Bruce Dentler 5/31/07      No                                   ' Spokane,
  Moles       Lester      Community      47:.01
                                                                   arterioschrotic cardiovascular disease                          (Whitehouse)                                        WA
                                                                   Other significant conditions: COPD
                                                                                                                     Sally S. Aiken                   No                              Spokane,
  Moles       Edith       Community      49-01          10/26/2001 Multiple Cerebral Vascular Accidents
                                                                                                                                                                                      WA




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                 ~                              Case 01-01139-AMC  Doc 22766-38
                                                               DECEASED CLlEN':'    Filed
                                                                                 'Jeath   08/13/09
                                                                                        Date Order)                            Page 3 of 5
                                                                                               \.. .;
LastName      FirstName Exp Cat          Libby           Date of                                                                                                               -......I'
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                                         Residence       Death                                                                                              ~             Grace End Residence
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                                                                                                                                                    factor?
Cassidy       John        Worker        62-01           12115/2001 anoxic encephalopathy (8 days)
                                                                                                                       Jon Johnson 8/9/04             No     6/4/1968
                                                                  ve,ntricular fibrillation (8 days)                                                                      8/28/1968        Libby, MT
                                                                                                                                   (Johnson)
                                                                  acMe myocordial infarction (8 days)
Kaeding       Donald      Worker        62-02           1/30/2002 a~bestosis (>10 years)
                                                                                                                       Gregory Rice                   Yes    6/4/1962    . 6/19/1964       Libby, MT
Baker         Bruce       Worker        60-87            21412002   Respiratory failure (months)                        JeffreyM.       Whitehouse    Yes    5/13/1969   8/25/1985
                                                                    post operative pneumonia (months)                                                                                      Yakima, WA
                                                                                                                      . Reynolds        Depo
                                                                    P~orly differentiated Bronchioaveolar Carcinoma
                                                                    Cigarette Smoking and Asbestos Exposure
Wilson        Ford        Community     72-76,84-02      4/1/2002   Lung carcinoma                                    William           1/20/00        Yes                                 Libby, MT
Oikie         Gerald      Worker                                                                                      Cuskelly          (Obenniller) .
                                        50-52,67-73, 6/14/2002 ventricular fibnllation (2 minutes)
                                                                                                                      Edward Kim        6/29/04        Yes   8/26/1950   3/3/1952
                                        75-01                  coronary artery disease                                                                                                     Kirkland, WjJ
                                                                                                                                        (whitehouse)
McWhirk       Howard.     Worker         50~77, 71-77
                                                    6/2212002 MUltiple Blunt Trauma
                                                                                                                      none                       No          8/17/1950   6/27/1952
                                         part time            Motor Vehicle Accident                                                                                                       Sunnyside,
Siefke        Raymond                                                                                                 (coroner)
                          Community      22-02      7/1212002 MasSive damage to internal organs                                                                                            WA
                                                                                                                      none                       No
                                                              gunshot wound                                                                                                                Libby. MT
Olson         James                                                                                                   (coroner)
                          Family Member 37-59,76-02 7/17/2002 metastic lung cancer to vertebrae
                                                                                                                      Frederick Tai 1/10/05      Yes
                                                              vertebrae metastic                                                                                                           Libby. MT
                                                           ..                                                                       (Whitehouse)
                                                              methicilin kemptounl staph infection
DeShazer      Jack        Worker        47-59,4 mos 8/3/2002 Asbestosis (>10 years)
                                                                                                                       Glenne .                       Yes·   1/23/1947   3/15/1956
                                        yr73-83. 8~                                                                                                                                        Libby. MT
                                                                                                                       Gunther
                                        02
Collinson     Charles     Worker        15-02       8/17/2002 A~bestosis (10 years)                                    Glenne                         Yes    6/6/1946    8/31/1946         Libby, MT
                                                              CHF (10 years)                                           Gunther
Trimble       Elizabeth   Community     51-02       9/1/2002 ml'lsothelioma (4 months) .                               James                          Yes                                  Libby, MT
                                                                      ,.                                               LechlJer
Nelson        Albert      Worker        13-40, 4~2 10/9/2002 Asbestosis
                                                                                                                       Gregory Rice                   Yes    9/8/1947    9/15/1947         Libby, MT
                                                              W9r,k!3 d @ zonolite 3 mos 1947
13rewington   William     Worker        36-79      10/23/2002 MI ,                                                    Allan C. Hilles                 Yes    9/4/1947    12123/1947        Bend, OR
                                                                    c.A.D.
                                                                   other significant conditions: COPD
Hughes        Robert      Worker        74-02           11127/2002 ASbestosis
                                                                     I                                                 Clyde Knecht                   Yes    8/26/1974   5/31/1986         Libby, MT
Bachteler     Thomas      Community     69-02           1211412002 9bstructive Airways Disease, severe (10+ years)


                                                                                                                                                     II
                                                                                                                       Legrande                                                            Libby, MT
                                                                 .' Pulmonary Emphysema? (1 0+ ye~rs)                  Phelps

Basham        Jack        Family Membe 46-03             1/112003 Metastatic carcinoma esophagus (July 2002)           Josph            1217/05      Yes                                   Libby,MT
                                                                  ~rcinoma esophagus (Nov. 2001)                       Nicoletta        (Whitehouse)
                                                                  1'Isbestosis (Jan. 132002)
Edwards       Georgiana   Community      45-03          3/18/2003 intracerebral hemorrhage (8 hours)                   Gregory Rice                   No                                   Libby, MT




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                                                                DECEASED
                                                 Case 01-01139-AMC       CLlEN'" Jeath
                                                                     Doc 22766-38      Date08/13/09
                                                                                    Filed   Order)                          Page 4 of 5                                       ---J
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LastName    FirstName Exp Cat            Libby          Date of    Cause per DC                                   DC signed                                              Grace End Residence
                                         Residence       Death                                                      bv Dr:            letter            m Start                      at Death
                                                                                                                                                   factor?
Spady       Raymond       Worker         50-51,52-03 5/14/2003 Asbestosis                                       Glenne                             Yes       10/16/1950 614/1951     Libby, MT
                                                                                                                 Gunther
Gerard      Carol         Community      68-85          5/23/2003 Aspiration pneumonia (1 day)                 . Estelle Harris                    Yes                               West Valley
                                                                   primary peritoreal mesothelioma (3 years)                                                                         City, UT
Foster      Ray           Community      48-50, 66-71   61212003   Hepatocellular Cancer (weeks)                Steven                             No                                San Diego,
                                                                                                                Oppenheim                                                            CA
Gaston      Edward        Worker         54,59-03       7/8/2003   ~~diacarrest                                 Glenne                             Yes       5/1211959   21111990    Libby, MT
                                                                 atheroscleratic heart dise;ase (10 years)      Gunther
                                                                 aJbestosis (20 years)       .
Stanley     Robert        Community      39-43, 46-03   8/9/2003 A~bestosis in lungs                            Gregory Rice                       Yes                               Libby, MT

McMillan    Lynn          Family Membe 46-03·           8/1312003 Mi..dtiorgan Failure                          Timothy F.                         No                                Libby, MT
                                                                  ??                                            Obermiller
Conn        Cornelia      Community      08-03          8/19/2003 Asbestosis (>10 years)                        Greg Rice                          Yes                               LibbY,MT

Challinor   Jim           Subcontractor 34-03        8/24/2003 dementia (2-3 years)                             Gregory Rice 9/9105 (Rice) Yes                                       Libby, MT
                                                               ismail stroke syndrome (4 years)
                                                               atherosclerosis
                                                               other significant conditions: asbestosis
Sagen       Kenneth       Community     54-55, 58-03 8/24/2003 Asthenia, marked (1 year)                        Legrande                           Yes                               Libby, MT
                                                               .Pn~umoconiosis?; Asbestosis (>2 years)          Phelps
Dickerman   Alfred        Worker        67-03        9/912003 sepsis                                            Gary                               Yes       3/1111968   10/3/1983   Troy, MT
                                                               asbestosis of lung                               Masumoto
                                                               Gallbladder: disease
Kelly       Patricia      Family Member 46-52        9/28/2003 Metastatic lung c.a.                             Deanna            6/22/04          Yes                               Sl Regis,
                                                                                                                Phinney           (VIJhitehouse)                                     MT

Jacobson    Dorothy       Community      23-43,54-.  10/18/2003 C\iF (2 weeks)                                  Glenne                             No                                Libby, MT
                                         58, 62-03              AQrtic stenosis (5 years)                       Gunther
                                                                asbestosis (>20 years)
Stacy       Beryl         Family Member 57-60        11/11/2003 Cardiopulmonary arrest (minutes)               . Brent                             Yes                               Rexford, MT
                                                                Mi:!tastic squamous cell ca. lung                Pistorese
Collier     Paul          Community     35-48, 54-90 3/212004.· Alj:utl?! cardiac Arrest (mins)                  none                              Yes                               Tucson, AZ
                                                                Hypertension (ye~rs)                             (coroner)
                                                                Diabetes (years)
Ellsworth   Keith         Community     62-71, 99-04 4/21/2004 .m~tastatic prostate cancer (6 years)            Clare                              No                                Libby, MT .
                                                                                                                Brownlee
Ryan        Royce         Worker         68-84          5/1112004 Colon Cancer (years)                          Douglas           6/22104      Yes           9/26/1974   9/26/1977   Kalispell, MT
                                                                                                                Nelson            (Whitehouse)

DeShazer    Margaret      Family Member 47-59, 71-04 5/23/2004. respiratory failure (2 weeks)                   Glenne                             Yes                               Libby. MT
                                                                asbestosis (>10 years)                          G.un1tler
                                                                COPD (>10 years)



                                                                                                5                                                                          12115/2008
                                         Case 01-01139-AMC  Doc 22766-38
                                                        DECEASED CLlEN-     Filed
                                                                         ')eath   08/13/09
                                                                                Date Order)                              Page 5 of 5
              -~                                                                          ~~                                                                              ~~.
LastName   FirstName Exp Cat        Libby         Date of     Cause per DC                                      DC signed· Date of Dr Asb dis Grace .                Grace End Residence
                                    Residence      Death                                                           by Dr:        lettersig.             Start                     at Death
                                                                                                                                             factor?
Denning    Jody       Worker        60-79,82-     6/8/2004    End  stag~alcoholic liver disease (7 years)      Glenne                        Yes        10/711974    1120/1978    Libby, MT
                                    90,01-04                  AsbestOSIs (>10 years)                           Gunther                                                                .
Collier    Glen       Worker        28-43,45-04 ·7/18/2004 Asptiration Pneumonia (week)                        Gregory Rice 8/9/04 (Rice) No.·          8/6/1946     4/16/1948    . Libby, MT
                                                           CVA (4 years)
                                                            Aortic & Mitral Artificial Valves (4years)
                                                            Rheumatic Fever (70 years)
                                                            O~er significant conditions: Asbestosis
Erickson   Rodney     Community     53-04         7/26/2004 Chronic Obstructive Pulmonary Disease               William.                     Yes                                  Libby, MT
                                                            Ai?bestosis                                       , Cuskelly
Hammer     Peter      Community     49,51-02      7/26/2004 Respiratory Failure (weeks)                         Alan                     . Yes                                    Sp<;lkane,'
                                                           . asbestosis (years)                                Whitehouse                                                         WA
Oikle      Edna       Family Membel 50-52,67-73, 11/30/2004 Pulmonary Asbestosis                               Michael D.                    Yes                                  Kirkland, w;.
                                    75-01                                                                      Eulberg
Johnston   William    Community     29-04        12130/2004 Carcinoma prostate (metastatic)                    Joseph                        No                                   Libby, MT
                                                                                                               Nicoletto
Adkins     Dean       Family Membe 37-39,48-05    211/2005    Pneumonia                                        William                       Yes                                  Libby, MT
                                                            Asbestosis                                         Cuskelly
Petrusha   Lorainne   Family Membe 47-05          2111/2005 ASCVD (years)                                      none                          Yes                                  Libby, MT
                                                                                                               (coroner)
Walker     Bonnie     Community     54-03         4/11/2005 Ventilatory Failure (days)                         Timothy F.     3/24/08        No                                   Bigfork, MT
                                                              COPD                                             Obermiller     (Whitehouse)

Carvey     Edward     Worker        28-29,31,     4/23/2005 cardiorespiratory arrest                           Raluca                        No         11:~511945   1215/1945.   Eureka, MT
           "Nick"                   37-42, 45               critical aortic stenosis                           loneseu
Rayome     Ronald     Worker        38-05         6/3/2005 COPD with asbestosis                                William                       No         7/"16/1956   8/3/1956     Libby, MT
                                                                                                                Cuskelly
Nelson     Robert     Worker·       57-60,62-     6/9/2005    Cardiopulmonary Arrest (hours)                  . Phillip                      Yes'       8/211963     6/19/1964    Salome, AZ.
                                    64,70-73,                 End Stage Chronic Obstructive Pulmonary. Disease Sandoval
                                    74-75                     (years)
                                                              L~ng Asbestosis Exposure (years)
Hagerty    William    Worker        46-05         6/26/2005   A~ute pUlmonary edema (48 hours)              Alan              4/28/06      Yes          8/6/1946     2/2.8/1949   Libby, MT
                                                           R~nal insufficiency (2 weeks)                    Whitehouse        (Whitehouse)
                                                           ASCVD (>10 years)
McGill     Blanche    Family Member 40-63, 66-04 6/2612005 A~piration Pneumonia (3 days)                    Joan M.           9/14/05        Yes                                  Lewistown,
                                                           Hypoxia (3 days)                                 McMahon           (Whitehouse)                                        MT
                                                           Chronic Obstructive PUlmonary Disease (>10 years
                                                           A~b~stosis exposure (>10 .years)
                                                               [

Bo Ie      Patrick    Worker        59-69         9/2212005 (automobile accident)                                                            No        .2/'15/1968   3/25/1969    Hungry
  y                                                                                                                                                                               Horse,MT
Fuller     Robert;    Worker        58-91,02-05 1011/2005 Asbestosis (>10 years)                               Gregory Rice                  Yes        4/2011965    912111990    Libby. MT
                                                          Working at Zonalite Mine in Libby
                                                          Other significant conditions: COPD right




                                                                                           6                                                                           12115/2008
